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                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             CR17-00072-CAS -1

 Defendant           JOSEPH JINN                                             Social Security No. 0         3   1   5
 akas:   Tzong Hwan Jinn                                                     (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                   MONTH    DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         08   21    2017

  COUNSEL                                                             Mark Frederick, Retained
                                                                             (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO             NOT
                                                                                                               CONTENDERE         GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Conspiracy to Enter Goods By Means of False Statements in violation of 18 U.S.C. § 371, as charged in Count 1 of the
          Single-Count Information.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to Count
  ORDER   One of the Single-Count Information to the custody of the Bureau of Prisons to be imprisoned for a term of: THREE (3)
          MONTHS.
It is ordered that the defendant shall pay to the United States a special assessment of $100.00, which is
due immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of
not less than $25.00 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial
Responsibility Program.
It is ordered that the defendant shall pay to the United States a total fine of $7,500.00, which shall bear
interest as provided by law. The fine shall be paid in full immediately.
The defendant shall comply with General Order No. 01-05.
The Court has entered a money judgment of forfeiture against the defendant, which is hereby
incorporated by reference into this judgment and is final.
Upon release from imprisonment, the defendant shall be placed on supervised release for a term of one
(1) year under the following terms and conditions:
1.      The defendant shall comply with the rules and regulations of the United States Probation Office,
        General Order 05-02, and General Order 01-05, including the three special conditions
        delineated in General Order 01-05;
2.      During the period of community supervision, the defendant shall pay the special assessment and
        fine in accordance with this judgment's orders pertaining to such payment;
3.      The defendant shall participate for a period of six (6) months in a home detention program
        which may include electronic monitoring, GPS, or automated identification systems and shall
        observe all rules of such program, as directed by the Probation Officer. The defendant shall
        maintain a residential telephone line without devices and/or services that may interrupt
        operation of the monitoring equipment;
4.      The defendant shall pay the costs of home confinement monitoring to the contract vendor, not
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        to exceed the sum of $12.00 for each day of participation, if the probation officer determines
        defendant is able to pay. The defendant shall provide payment and proof of payment as directed
        by the Probation Officer;
5.      The defendant shall perform 72 hours of community service, in a community service program
        approved by and as directed by the Probation Officer;
6.      The defendant shall cooperate in the collection of a DNA sample from the defendant;
7.      The defendant shall apply all monies received from income tax refunds to the outstanding
        Court-ordered financial obligation. In addition, the defendant shall apply all monies received
        from lottery winnings, inheritance, judgments and any anticipated or unexpected financial gains
        to the outstanding Court-ordered financial obligation; and
8.      The defendant shall provide the Probation Officer with access to any and all business records,
        client lists, and other records pertaining to the operation of any business owned, in whole or in
        part, by the defendant, as directed by the Probation Officer.
The drug testing condition mandated by statute is suspended based on the Court's determination that
the defendant poses a low risk of future substance abuse.
It is further ordered that the defendant surrender himself to the institution designated by the Bureau of
Prisons at or before 12 noon, August 28, 2017. In the absence of such designation, the defendant shall
report on or before the same date and time, to the United States Marshal located at the Roybal Federal
Building, 255 East Temple Street, Los Angeles, California 90012.
Defendant is informed of his right to appeal.
Bond is exonerated upon surrender.
The Court hereby recommends that defendant remain at the Metroplitan Detention Center (MDC) for
the sentence of the three (3) months of custody imposed. Otherwise, the Court recommends that
defendant be designated to a facility in Southern California, or as close thereto as possible.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            August 21, 2017
            Date                                                  Christina A. Snyder, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                  Clerk, U.S. District Court



            August 21, 2017                                 By                     /S/
            Filed Date                                            C. Jeang, Deputy Clerk




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 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).
                           STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE
                            While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or local crime;        10.   the defendant shall not associate with any persons engaged in criminal
 2.    the defendant shall not leave the judicial district without the written            activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                      unless granted permission to do so by the probation officer;
 3.    the defendant shall report to the probation officer as directed by the       11.   the defendant shall permit a probation officer to visit him or her at any
       court or probation officer and shall submit a truthful and complete                time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                           contraband observed in plain view by the probation officer;
 4.    the defendant shall answer truthfully all inquiries by the probation         12.   the defendant shall notify the probation officer within 72 hours of being
       officer and follow the instructions of the probation officer;                      arrested or questioned by a law enforcement officer;
 5.    the defendant shall support his or her dependents and meet other family      13.   the defendant shall not enter into any agreement to act as an informer or
       responsibilities;                                                                  a special agent of a law enforcement agency without the permission of
 6.    the defendant shall work regularly at a lawful occupation unless                   the court;
       excused by the probation officer for schooling, training, or other           14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                                parties of risks that may be occasioned by the defendant’s criminal
 7.    the defendant shall notify the probation officer at least 10 days prior to         record or personal history or characteristics, and shall permit the
       any change in residence or employment;                                             probation officer to make such notifications and to conform the
 8.    the defendant shall refrain from excessive use of alcohol and shall not            defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other      15.   the defendant shall, upon release from any period of custody, report to
       controlled substance, or any paraphernalia related to such substances,             the probation officer within 72 hours;
       except as prescribed by a physician;                                         16.   and, for felony cases only: not possess a firearm, destructive device, or
 9.    the defendant shall not frequent places where controlled substances are            any other dangerous weapon.
       illegally sold, used, distributed or administered;




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             The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

                 STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).

           Payments shall be applied in the following order:
                  1. Special assessments pursuant to 18 U.S.C. §3013;
                  2. Restitution, in this sequence (pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                     States is paid):
                            Non-federal victims (individual and corporate),
                            Providers of compensation to non-federal victims,
                            The United States as victim;
                  3. Fine;
                  4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                  5. Other penalties and costs.

                               SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                               These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date




                     U. S. Probation Officer/Designated Witness                     Date




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